                   Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 1 of 8



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT NEW YORK

          VAĒSO, INC.                                  )
                                                       )
                                    Plaintiff,         )
                                                       )
                         vs.                           )   Cause No.
                                                       )
          HIGH PEAK SOFTWARE, INC.                     )
                                                       )
                                    Defendant.         )




                           MEMORANDUM OF LAW IN SUPPORT OF
                   EMERGENCY REQUEST FOR TEMPORARY RESTRAINING ORDER




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                   Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 2 of 8



                                           PRELIMINARY STATEMENT
                  In conformity with L. Cv. R. 7.1, Plaintiff herewith files an Order to Show Cause, Affidavit in

          Support, Memorandum of Law in Support as well as a Summons and Complaint alleging, inter alia,

          breach of contract against the Defendant.

                  Plaintiff makes this emergency application because the Defendant has threatened the

          imminent use and dissemination of Plaintiff’s confidential information, computer code, the result of

          which would be irreparable harm to the Plaintiff which cannot be addressed with monetary damages.

                  As is set forth in greater detail in the attached Affidavit of Jose Suarez, the Chief Executive

          Officer of Vaēso, the Plaintiff, Plaintiff and Defendant had been engaged in business since August 1,

          2018 pursuant to the terms of a Master Services Agreement (“MSA”), attached hereto as Exhibit 1.

          That MSA was amended by agreement dated September 24, 2020, attached hereto as Exhibit 2.

                  Although the same continued for some time without issue, during 2021, relations between

          Plaintiff and Defendant deteriorated.

                  As Mr. Suarez explains, he has received a direct threat from Mr. Chandra on behalf of HPS

          that HPS “retains its claim as to ownership of all Developed Property.” Mr. Suarez advises that Madhu

          Seshadri, a current HPS employee and former worker on the Vaēso project on behalf of HPS who

          was terminated for his incompetence, called Mamatha Naganna asking her to give him a “grooming

          session” (i.e. a verbal explanation of the product module-features developed since his removal from

          Vaēso in August 2021).




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                    Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 3 of 8




                  As Mr. Suarez explains, the foregoing contact indicates that HPS is beginning to think how to

          monetize Vaēso’s 850,000 lines of code developed, and expressly violates the terms of the agreement

          between the parties.


                                                       ARGUMENT

                  Defendant has plainly threatened the use of Plaintiff’s confidential information, Exhibit 3.

          Moreover, Defendant’s counsel has received a “Cease and Desist” letter (Exhibit 4) from Plaintiff

          and has not responded to the same.

                  “A party seeking preliminary injunctive relief must establish: (1) either (a) a likelihood of

          success on the merits of its case or (b) sufficiently serious questions going to the merits to make them

          a fair ground for litigation and a balance of hardships tipping decidedly in its favor, and (2) a likelihood

          of irreparable harm if the requested relief is denied.” Time Warner Cable, Inc. v. DIRECTV, Inc., 497

          F.3d 144, 152–53 (2d Cir. 2007); accord North American Soccer League, LLC v. United States Soccer

          Fed’n, Inc. (“NASL”), 883 F.3d 32, 37 (2d Cir. 2018).

                  “A preliminary injunction is an equitable remedy and an act of discretion by the court. A party

          seeking a preliminary injunction must generally show a likelihood of success on the merits, a likelihood

          of irreparable harm in the absence of preliminary relief, that the balance of equities tips in the party’s

          favor, and that an injunction is in the public interest.”) “[A] preliminary injunction is ‘an extraordinary

          remedy never awarded as of right[,]’” Benisek, --- U.S. ---, 138 S. Ct. at 1943 (quoting Winter v. Natural

          Res. Defense Council, Inc., 555 U.S. 7, 24, 129 S. Ct. 365, 172 L. Ed. 2d 249 (2008)), and “should not




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                    Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 4 of 8




          be granted unless the movant, by a clear showing, carries the burden of persuasion.” Sussman v.

          Crawford, 488 F.3d 136, 139-40 (2d Cir. 2007) (quoting Mazurek v. Armstrong, 520 U.S. 968, 972,

          117 S. Ct. 1865, 30 138 L. Ed. 2d 162 (1997) (emphasis in original)); accord Capstone Logistics

          Holdings, Inc. v. Navarrete, 736 F. App’x 25, 26 (2d Cir. Aug. 31, 2018) (summary order). 1.

          Irreparable Injury Since “[i]rreparable harm is the single most important prerequisite for the issuance

          of a preliminary injunction[,] . . . the moving party must first demonstrate that such injury is likely

          before the other requirements for the issuance of an injunction will be considered.” Rodriguez ex rel.

          Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d Cir. 1999) (quotations and citations omitted); see also

          JBR, Inc. v. Keurig Green Mountain, Inc., 618 F. App’x 31, 33 (2d Cir. Oct. 26, 2015) (summary order)

          (holding that since irreparable harm “is the sine qua non for preliminary injunctive relief[,] . . . the

          moving party must first demonstrate that irreparable harm would be ‘likely’ in the absence of a

          preliminary injunction before the other requirements for the issuance of a preliminary injunction will

          be considered.” (quotations and citations omitted)); Coscarelli v. ESquared Hosp. LLC, 364 F. Supp.

          3d 207, 221 (S.D.N.Y. 2019) (“[I]f a party fails to show irreparable harm, a court need not even address

          the remaining elements” of the preliminary injunction standard). “Irreparable harm is defined as

          certain and imminent harm for which a monetary award does not adequately compensate[,] . . . [and]

          exists where, but for the grant of equitable relief, there is a substantial chance that upon final resolution

          of the action the parties cannot be returned to the positions they previously occupied.” Allstate Ins.

          Co. v. Harvey Family Chiropractic, 677 F. App’x 716, 718 (2d Cir. Jan. 27, 2017) (summary order)

          (quotations and citations omitted); see also WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 285 (2d Cir. 2012)



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                    Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 5 of 8




          (holding that irreparable harm is “harm to the plaintiff’s legal interests that could not be remedied

          after a final adjudication.”)

                  “The requirement of immediate and irreparable injury is readily satisfied in this case. Copyright

          infringement is presumed to give rise to such harm. The same usually can be said of

          misappropriation of trade secrets. Moreover, assuming plaintiff is correct on the merits, the extent of

          the harm suffered by plaintiff could not readily be measured, suggesting that the injury would be truly

          irreparable.” Tradescape.Com v. Shivaram, 77 F. Supp. 2d 408 (S.D.N.Y. 1999) The Court continued:

          “Suffice it to say that computer software indisputably is a subject of trade secret protection. In this

          case, despite defendants' insistence to the contrary, there is substantial evidence that defendant

          Shivaram was bound by a confidentiality agreement while working for Tradescape. Plaintiff appears

          to have taken reasonable measures to protect its source code. The direct and circumstantial evidence

          of copying is strongly suggestive of misappropriation. Plaintiff therefore has presented enough

          evidence to raise serious going to the merits of the trade secrets claim to support the issuance of a

          preliminary injunction.” Shivaram.

                  In this matter, Plaintiff has established all of the necessary elements to support a preliminary

          injunction against the Defendant. Plaintiff has articulated that the property in question originates with

          Vaēso’s work product and is the center of the company. Moreover, given that any claim that HPS may

          have can be addressed with money, but any release of Vaēso’s confidential work product will be

          catastrophic to Vaēso and not compensable with money damages; thus, the equities tip in favor of




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                    Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 6 of 8




          Vaēso. The public has a decided interest in the protection of confidential information and the

          enforceability of confidentiality agreements.

                  Moreover, given the Defendant’s consent to injunctive relief (discussed below) Vaēso has

          established a likelihood of success on the merits.

                  Absent immediate action and an injunction, HPS may use or sell or disseminate the

          confidential information of Plaintiff. If released or converted as HPS is presently attempting, it will

          irreparably harm the Plaintiff because there is no dollar amount that could adequately compensate the

          Plaintiff for this breach.

                  “Harm may be irreparable where the loss is difficult to replace or measure, or where plaintiffs

          should not be expected to suffer the loss.” WPIX, 691 F.3d at 285; accord Salinger v. Colting, 607

          F.3d 68, 81 (2d Cir. 2010). Thus, unless the movant demonstrates “an injury that is neither remote nor

          speculative, but actual and imminent and that cannot be remedied by an award of monetary damages[,]

          . . . a motion for a preliminary injunction should be denied.” Rodriguez, 175 F.3d at 234 (quotations

          and citation omitted); see also eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391, 126 S. Ct. 1837,

          164 L. Ed. 2d 641 (2006) (holding that before a court may grant injunctive relief, the plaintiff must

          demonstrate, inter alia, “that remedies available at law, such as monetary damages, are inadequate to

          compensate for [its] injury.”); Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d

          Cir. 2009).




The Weinstein Group PC                                                                                    Page 6
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                    Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 7 of 8




                  Here, through the accompanying affidavit of Jose Suarez, he describes recent contact that

          suggests that Defendant is imminently going to use Plaintiff’s confidential information and absent this

          Court’s emergency intervention will cause damages that cannot adequately be met with money.


                              BY CONTRACT, DEFENDANT CONSENTS TO
                         THE ISSUANCE OF A TEMPORARY RESTRAINING ORDER

                  Pursuant to the terms of the contract between the parties (EXHIBIT 1), at Section 18.3

          thereof, the same reads: “18.3 Equitable Relief. Nothing herein shall preclude either party from seeking

          and obtaining from a court of competent jurisdiction appropriate equitable relief, including without

          limitation, a temporary restraining order or other injunctive relief, to prevent a breach of this

          Agreement relating to Sections 9 (Intellectual Property), 12 (Confidentiality), or to otherwise maintain

          the status quo pending outcome of any arbitration.”

                  The threat to use Plaintiff’s property (Exhibit 3) accompanied by the refusal to respond to

          Plaintiff’s letter (Exhibit 4) warrant the issuance of a restraining order, protecting the confidential

          information of the Plaintiff and maintaining the status quo.

                  It must be noted that the within request for an injunction makes no imposition upon the

          Defendant. Moreover, the Defendant has no financial or other risk by the instant emergency

          application.

                  Accordingly, Plaintiff asks that this Court waive any bond or undertaking.




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                   Case 1:22-cv-01220-PAE Document 2-2 Filed 02/14/22 Page 8 of 8




                                                    CONCLUSION

                  For the foregoing reasons, and for those reasons set forth in the accompanying documents

          including the affidavit of Jose Suarez with personal knowledge of the matter, Plaintiff respectfully and

          urgently requests this Court’s assistance in protecting Plaintiff’s confidential information and in

          maintaining the status quo and that it forthwith enjoin and restrain the Defendant High Peak Software,

          Inc. and any and all subsidiary or related companies, from using, selling or otherwise manipulating

          Plaintiff’s confidential information pending further Order of this Court and for such other relief as to

          this Court appears just and proper.



          Dated: February 13, 2022
                 Syosset, New York

                                                         Yours, etc.,

                                                         THE WEINSTEIN GROUP, P.C.


                                                         By:
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